                                                   U.S. Department of Justice

                                                   Criminal Division



Appellate Section                                  Washington, D.C. 20530



June 24, 2024


Hon. Molly C. Dwyer, Clerk
United States Court of Appeals for the Ninth Circuit
James R. Browning Courthouse
95 7th Street
San Francisco, CA 94103

         Re:        United States v. Steven Duarte, No. 22-50048
                    Petition for rehearing en banc filed May 14, 2024


Dear Ms. Dwyer:

       The United States’ petition for rehearing en banc is currently pending. As
the petition explains, the panel incorrectly held that 18 U.S.C. § 922(g)(1) violates
the Second Amendment. The United States respectfully calls the Court’s attention
to two recent cases.

        First, in United States v. Rahimi, No. 22-915, 2024 WL 3074728, at *11
(June 21, 2024), the Supreme Court held that 18 U.S.C. § 922(g)(8)’s prohibition
on firearm possession while subject to a domestic-violence restraining order is
constitutional because “[a]n individual found by a court to pose a credible threat to
the physical safety of another may be temporarily disarmed consistent with the
Second Amendment.” Rahimi upheld § 922(g)(8) based on analogies to historical
surety laws and “going armed” laws. The Court explained: “Section 922(g)(8) is
by no means identical to these founding era regimes, but it does not need to be.”
Id. at *9. Instead, § 922(g)(8) is “relevantly similar” to founding-era laws because
it “restricts gun use to mitigate demonstrated threats of physical violence.” Id. at
*11.

      Rahimi explained that “some courts have misunderstood the methodology of
[the Supreme Court’s] recent Second Amendment cases” to “suggest a law trapped
in amber.” 2024 WL 3074728 at *6. But it explained that “the Second
Amendment permits more than just those regulations identical to ones that could
be found in 1791.” Id. And it faulted the Fifth Circuit for “read[ing] Bruen to
require a ‘historical twin’ rather than a ‘historical analogue.’” Id. at *11 (quotation
omitted). As explained in the government’s rehearing petition, the panel
committed a similar error in this case.

       Second, the Third Circuit applied plain-error review when rejecting an
unpreserved Second Amendment challenge to § 922(g)(1). United States v.
Dorsey, No. 23-2125 (3d Cir. June 24, 2024). Accordingly, the panel’s application
of de novo review to Duarte’s forfeited Bruen claim now conflicts with decisions
from two other circuits. See Pet. for Rehearing 18. The Court should vacate the
panel decision and grant rehearing en banc.

                                           Respectfully submitted,

                                           s/William A. Glaser
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